                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS
In Re:                                                  )
                                                        )
         PHILLIP EUGENE HARDEN,                         )          Case No.
                                                        )
                                        Debtor.         )

           DECLARATION REGARDING PAYMENT ADVICES OR EVIDENCE
                 OF PAYMENT UNDER 11 U.S.C. § 521(a)(1)(B)(iv)

       I declare (or certify, verify, or state) under penalty of perjury that the following is true
and correct (CHECK ONE OF THESE BOXES):

                  I have not been employed by any employer within the 60 days before the date of
         the filing of the petition.

               I was employed by an employer within 60 days before the date I filed my
         bankruptcy petition, but I have not received payment advices or other evidence of
         payment because:



                 I have received payment advices or other evidence of payment within 60 days
         before the date I filed my bankruptcy petition from any employer, and they are attached.



Executed on April 26, 2017 by          s/Phillip Eugene Harden                 (debtor)




                   Case 17-10732       Doc# 3      Filed 04/26/17      Page 1 of 1
